Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 1 of 49 PageID 3
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 2 of 49 PageID 4
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 3 of 49 PageID 5
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 4 of 49 PageID 6
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 5 of 49 PageID 7
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 6 of 49 PageID 8
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 7 of 49 PageID 9
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 8 of 49 PageID 10
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 9 of 49 PageID 11
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 10 of 49 PageID 12
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 11 of 49 PageID 13
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 12 of 49 PageID 14
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 13 of 49 PageID 15
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 14 of 49 PageID 16
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 15 of 49 PageID 17
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 16 of 49 PageID 18
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 17 of 49 PageID 19
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 18 of 49 PageID 20
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 19 of 49 PageID 21
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 20 of 49 PageID 22
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 21 of 49 PageID 23
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 22 of 49 PageID 24
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 23 of 49 PageID 25
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 24 of 49 PageID 26
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 25 of 49 PageID 27
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 26 of 49 PageID 28
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 27 of 49 PageID 29
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 28 of 49 PageID 30
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 29 of 49 PageID 31
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 30 of 49 PageID 32
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 31 of 49 PageID 33
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 32 of 49 PageID 34
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 33 of 49 PageID 35
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 34 of 49 PageID 36
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 35 of 49 PageID 37
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 36 of 49 PageID 38
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 37 of 49 PageID 39
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 38 of 49 PageID 40
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 39 of 49 PageID 41
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 40 of 49 PageID 42
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 41 of 49 PageID 43
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 42 of 49 PageID 44
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 43 of 49 PageID 45
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 44 of 49 PageID 46
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 45 of 49 PageID 47
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 46 of 49 PageID 48
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 47 of 49 PageID 49
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 48 of 49 PageID 50
Case 3:19-cv-02676-B Document 2 Filed 11/08/19   Page 49 of 49 PageID 51
